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EXHIBIT 2
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AMERICAN CIVIL LIBERTIES UNION,
et al.,

Plaintiffs,

Civil Action No.
98-CV-5591

Vv.

ALBERTO R. GONZALES, in his official
capacity as Attorney General of the United
States,

Nee ee ee Ne ae ee ee Se ee ee ee SY”

Defendant.

CONDOMANIA’S RESPONSES AND OBJECTIONS TO DEFENDANT'S FIRST SET
OF INTERROGATORIES

Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Addazi,
Inc., d/b/a Condomia (“Plaintiff”) responds and objects to Defendant Alberto R. Gonzales’s First

Set of Interrogatories (“Interrogatories”) as follows:

GENERAL OBJECTIONS

1. Plaintiff objects to the Interrogatories to the extent the instructions and demands therein
purport to impose obligations in addition to, beyond, or different from those set forth in
the Federal Rules of Civil Procedure and the Rules of Civil Procedure of the United
States District Court for the Eastern District of Pennsylvania.

2. Plaintiff objects to the Interrogatories to the extent they call for the identification or
disclosure of information that is neither relevant to the claims and defenses of any party
in this action nor reasonably calculated to lead to the discovery of admissible evidence.
Plaintiff submits these responses and objections without conceding the relevance or

materiality of the subject matter of any interrogatory.
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INTERROGATORY NO. 9

For each website plaintiff, identify all federal or state threats of prosecution
concerning the sexual content on that plaintiffs website and the particular webpages containing
the material upon which those threats of prosecution were directed.

RESPONSE TO INTERROGATORY NO. 9

Plaintiff objects that this Interrogatory is vague and overly broad for failing to define
“federal or state threats of prosecution.” For purposes of responding to this Interrogatory,
Plaintiff interprets the phrase “federal or state threats of prosecution” to mean “having been
contacted by federal or state officials with regard to contemplated or initiated criminal
proceedings.” Subj ect to the foregoing and to the General Objections, Plaintiff responds as
follows: Plaintiff has not been contacted by federal or state officials with regard to contemplated
or initiated criminal proceedings concerning the sexual content on Plaintiffs website.

INTERROGATORY NO. 10

Identify the number of ACLU members.

RESPONSE TO INTERROGATORY NO. 10

Plaintiff objects to this Interrogatory because it calls for identification of information
not within the possession, custody or control of the Plaintiff. Subject to the foregoing and to the
General Objections, Plaintiff states that it has no information responsive to this request.
INTERROGATORY NO. 11

For each ACLU member, identify the number or proportion of those members who

have children under 17 and use ICF products.
